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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                               OWENSBORO DIVISION

 JASON ALTENHOFEN, Individually and For                             4:20-CV-30-JHM
                                                          Case No. __________________
 Others Similarly Situated,
                       Plaintiff,                         JURY TRIAL DEMANDED

 v.                                                       COLLECTIVE ACTION PURSUANT
                                                          TO 29 U.S.C. § 216(b)
 SOUTHERN STAR CENTRAL GAS PIPELINE,
 INC.,
               Defendant.



                                   ORIGINAL COMPLAINT

                                             SUMMARY

       1.      Plaintiff Jason Altenhofen (“Altenhofen”) brings this lawsuit to recover unpaid

overtime wages and other damages from Southern Star Central Gas Pipeline, Inc. (“Southern Star”)

under the Fair Labor Standards Act (“FLSA”).

       2.      Altenhofen worked for Southern Star as an Inspector.

       3.      Altenhofen and the Day Rate Inspectors (as defined below) regularly worked for

Southern Star in excess of forty (40) hours each week.

       4.      But Southern Star did not pay them overtime.

       5.      Instead of paying overtime as required by the FLSA, Southern Star improperly paid

Altenhofen and the Day Rate Inspectors a daily rate with no overtime compensation.

       6.      This collective action seeks to recover the unpaid overtime wages and other damages

owed to these workers.

                                    JURISDICTION AND VENUE

       7.      This Court has original subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and

29 U.S.C. § 216(b).
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        8.        Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because Southern Star is

headquartered in this District.

                                              THE PARTIES

        9.        Altenhofen worked for Southern Star from June 2018 until October 2018 as an

Inspector.

        10.       Throughout his employment, Southern Star paid Altenhofen a flat daily rate for each

day worked regardless of the total hours worked in a workweek (“day rate pay plan”).

        11.       Altenhofen’s consent to be a party plaintiff is attached as Exhibit A.

        12.       Altenhofen brings this action on behalf of himself and all other similarly situated

workers who were paid by Southern Star’s day-rate system. Southern Star paid each of these workers

a flat amount for each day worked and failed to pay them overtime for all hours that they worked in

excess of 40 hours in a workweek in violation of the FLSA.

        13.       The class of similarly situated employees or putative class members sought to be

certified is defined as follows:

                  All inspectors Southern Star Central Gas Pipeline, Inc. paid
                  according to its day rate pay plan in the past three (3) years (the
                  “Day Rate Inspectors”).

        14.       The identities of the Day Rate Inspectors can be readily ascertained from Southern

Star’s records.

        15.       Southern Star Pipeline LLC is a Delaware limited liability company and may be served

with process by serving its registered agent: CT Corporation System, 306 W. Main St., Suite 512,

Frankfort, KY 40601.

                                     COVERAGE UNDER THE FLSA

        16.       At all times hereinafter mentioned, Southern Star was and is an employer within the

meaning of the Section 3(d) of the FLSA, 29 U.S.C. § 203(d).

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        17.     At all times hereinafter mentioned, Southern Star was and is an enterprise within the

meaning of Section 3(r) of the FLSA, 29 U.S.C. § 203(r).

        18.     At all relevant times, Southern Star has been part of an enterprise engaged in

commerce or in the production of goods for commerce within the meaning of section 3(s)(1) of the

FLSA, 29 U.S.C. § 203(s)(1).

        19.     At all relevant times, Southern Star has, and has had, employees engaged in commerce

or in the production of goods for commerce, or employees handling, selling, or otherwise working on

goods or materials (including tools, flashlights, smart phones/devices, badges, uniforms, computers,

personal protection equipment, etc.) that have been moved in or produced for commerce.

        20.     In each of the past 3 years, Southern Star’s annual gross volume of sales has well

exceeded $1,000,000 for at least the past 3 years.

        21.     At all relevant times, Altenhofen and the Day Rate Inspectors were engaged in

commerce or in the production of goods for commerce.

        22.     Southern Star uniformly applied its policy of paying its Inspectors, including

Altenhofen, a day rate with no overtime compensation.

        23.     Southern Star applied this policy regardless of any alleged individualized factors such

as job position, job duties/responsibilities, or geographic location.

        24.     By paying its Inspectors a day rate with no overtime compensation, Southern Star

violated (and continues to violate) the FLSA’s requirement that it pay employees at 1 and ½ times their

regular rates for hours worked in excess of 40 in a workweek.

        25.     As a result of this policy, Southern Star and the Day Rate Inspectors do not receive

overtime as required by the FLSA.




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         26.     Southern Star’s uniform compensation scheme of paying its Inspectors a day rate with

no overtime compensation for weeks in which these workers work over 40 hours is, in of itself, a

violation of the FLSA. 29 U.S.C. § 207(a) & (e).

                                              THE FACTS

         27.     Southern Star is a company engaged in natural gas pipeline transport. As the owner

and operator of drilling operations for natural gas pipelines, it hires personnel (like Altenhofen) to

perform inspection work.

         28.     Many of these individuals worked for Southern Star on a day rate basis (without

overtime pay).

         29.     These workers make up the proposed collective of Day Rate Inspectors.

         30.     While exact job titles and job duties may differ, these employees are subjected to the

same or similar illegal pay practices for similar work.

         31.     Throughout his employment with Southern Star, Southern Star paid him on a day rate

basis.

         32.     Altenhofen and the Day Rate Inspectors work for Southern Star under its day rate pay

scheme.

         33.     Altenhofen and the Day Rate Inspectors do not receive a salary.

         34.     If Altenhofen and the Day Rate Inspectors did not work, they did not get paid.

         35.     Altenhofen and the Day Rate Inspectors receive a day rate.

         36.     Altenhofen and the Day Rate Inspectors do not receive overtime pay.

         37.     This is despite the fact Altenhofen and the Day Rate Inspectors often worker 10 or

more hours a day, for 7 days a week, for weeks at a time.

         38.     For example, Altenhofen received a day rate for each day he worked for Southern Star.




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        39.     Although he typically worked 7 days a week, for 10 or more hours a day, he did not

receive any overtime pay.

        40.     Altenhofen and the Day Rate Inspectors received the day rate regardless of the

number of hours they worked in a week, even when they worked more than 40 hours.

        41.     Altenhofen and the Day Rate Inspectors are not employed on a salary basis.

        42.     Altenhofen and the Day Rate Inspectors do not, and never have, received guaranteed

weekly compensation from Southern Star irrespective of the day worked (i.e., the only compensation

they receive is the day rate they are assigned for all hours worked in a single day or week).

        43.     Altenhofen and the Day Rate Inspectors work in accordance with the schedule set by

Southern Star and/or its clients.

        44.     Altenhofen’s work schedule is typical of the Day Rate Inspectors.

        45.     Southern Star controls Altenhofen and the Day Rate Inspectors’ pay.

        46.     Likewise, Southern Star and/or its clients control Altenhofen and the Day Rate

Inspectors’ work.

        47.     Southern Star requires Altenhofen and the Day Rate Inspectors to follow Southern

Star and/or its clients’ policies and procedures.

        48.     Altenhofen and the Day Rate Inspectors’ work must adhere to the quality standards

put in place by Southern Star and/or its clients.

        49.     Altenhofen and the Day Rate Inspectors are not required to possess any unique or

specialized skillset (other than that maintained by all other workers in their respective positions) to

perform their job duties.

        50.     As an Inspector, Altenhofen was responsible for ensuring Southern Star’s and/or its

clients’ projects were completed according to established guidelines, specifications, and restrictions.




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        51.     All Southern Star’s Day Rate Inspectors perform similar duties, inspecting projects,

ensuring work is done according to established guidelines, specifications, and restrictions.

        52.     Altenhofen and the Day Rate Inspectors provide inspection reports to Southern Star

(and/or its clients’) personnel.

        53.     At all relevant times, Southern Star and/or its clients maintained control over

Altenhofen and the Day Rate Inspectors via hiring, firing, discipline, timekeeping, payroll, and other

employment practices.

        54.     Altenhofen and the Day Rate Inspectors do not have the power to hire or fire any

employees.

        55.     Altenhofen’s working relationship with Southern Star is similar Southern Star’s

relationship with its other Day Rate Inspectors.

        56.     Southern Star knew Altenhofen and the Day Rate Inspectors worked more than 40

hours in a week.

        57.     Southern Star knew, or showed reckless disregard for whether the Day Rate Inspectors

were entitled to overtime under the FLSA.

        58.     Nonetheless, Southern Star failed to pay Altenhofen and the Day Rate Inspectors

overtime.

        59.     Southern Star willfully violated the FLSA.

                                         CAUSES OF ACTION
                                         FLSA VIOLATIONS

        60.     By failing to pay Altenhofen and those similarly situated to him overtime at one-and-

one-half times their regular rates, Southern Star violated the FLSA’s overtime provisions.

        61.     Southern Star owes Altenhofen and those similarly situated to him the difference

between the rate actually paid and the proper overtime rate.



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        62.     Because Southern Star knew, or showed reckless disregard for whether, its pay

practices violated the FLSA, Southern Star owes these wages for at least the past three years.

        63.     Southern Star is liable to Altenhofen and those similarly situated to him for an amount

equal to all unpaid overtime wages as liquidated damages.

        64.     Altenhofen and those similarly situated to him are entitled to recover all reasonable

attorneys’ fees and costs incurred in this action.

                                  COLLECTIVE ACTION ALLEGATIONS

        65.     Altenhofen incorporates all previous paragraphs and alleges that the illegal pay

practices Southern Star imposed on Altenhofen were likewise imposed on the Putative Class

Members.

        66.     Numerous individuals were victimized by this pattern, practice, and policy which is in

willful violation of the FLSA.

        67.     Numerous other individuals who worked with Altenhofen indicated they were paid in

the same manner, performed similar work, and were not properly compensated for all hours worked

as required by state and federal wage laws.

        68.     Based on his experiences and tenure with Southern Star, Altenhofen is aware that

Southern Star’s illegal practices were imposed on the Day Rate Inspectors.

        69.     The Day Rate Inspectors were all not afforded the overtime compensation when they

worked in excess of forty (40) hours per week.

        70.     Southern Star’s failure to pay wages and overtime compensation at the rates required

by state and/or federal law result from generally applicable, systematic policies, and practices which

are not dependent on the personal circumstances of the Day Rate Inspectors.

        71.     Altenhofen’s experiences are therefore typical of the experiences of the Day Rate

Inspectors.

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        72.     The specific job titles or precise job locations of the Day Rate Inspectors do not

prevent class or collective treatment.

        73.     Altenhofen has no interests contrary to, or in conflict with, the Day Rate Inspectors.

Like each Day Rate Inspector, Altenhofen has an interest in obtaining the unpaid overtime wages

owed to him under federal law.

        74.     A collective action, such as the instant one, is superior to other available means for fair

and efficient adjudication of the lawsuit.

        75.     Absent this action, many Day Rate Inspectors likely will not obtain redress of their

injuries and Southern Star will reap the unjust benefits of violating the FLSA and applicable state labor

laws.

        76.     Furthermore, even if some of the Day Rate Inspectors could afford individual

litigation against Southern Star, it would be unduly burdensome to the judicial system.

        77.     Concentrating the litigation in one forum will promote judicial economy and parity

among the claims of individual members of the classes and provide for judicial consistency.

        78.     The questions of law and fact common to the Day Rate Inspectors predominate over

any questions affecting solely the individual members. Among the common questions of law and fact

are:

                a.      Whether the Day Rate Inspectors’ rights were violated as a result of Southern

                        Star’s day rate pay plan;

                b.      Whether Southern Star’s day rate pay plan was made in good faith;

                c.      Whether Southern Star’s decision to not pay time and a half for overtime to

                        the Day Rate Inspectors was made in good faith;

                d.      Whether Southern Star’s violation of the FLSA was willful; and




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                e.      Whether Southern Star’s illegal pay practices were applied uniformly across the

                        nation to all Day Rate Inspectors.

        79.     Altenhofen’s claims are typical of the claims of the Day Rate Inspectors. Altenhofen

and the Day Rate Inspectors sustained damages arising out of Southern Star’s illegal and uniform

employment policy.

        80.     Altenhofen knows of no difficulty that will be encountered in the management of this

litigation that would preclude its ability to go forward as a collective or class action.

        81.     Although the issue of damages may be somewhat individual in character, there is no

detraction from the common nucleus of liability facts. Therefore, this issue does not preclude

collective treatment.

                                             JURY DEMAND

        82.     Altenhofen demands a trial by jury

                                                 PRAYER

        83.     WHEREFORE, Altenhofen prays for judgment against Southern Star as follows:

                a.      An Order designating this lawsuit as a collective action and permitting the

                        issuance of a notice pursuant to 29 U.S.C. § 216(b) to all similarly situated

                        individuals with instructions to permit them to assert timely FLSA claims in

                        this action by filing individual Consents to Sue pursuant to 29 U.S.C. § 216(b);

                b.      For an Order pursuant to Section 16(b) of the FLSA finding Southern Star

                        liable for unpaid back wages due to Altenhofen and the FLSA Class Members

                        for liquidated damages equal in amount to their unpaid compensation;

                c.      For an Order awarding Altenhofen and the Day Rate Inspectors their

                        reasonable attorneys’ fees and expenses as provided by the FLSA;




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             d.   For an Order awarding attorneys’ fees, costs and pre- and post-judgment

                  interest; and

             e.   For an Order granting such other and further relief as may be necessary and

                  appropriate.


                                        Respectfully submitted,

                                        By: s/ Charles E. Moore
                                            Moore & Moorman
                                            401 Frederica St.
                                            Suite A202
                                            P.O. Box 549
                                            Owensboro, Ky 42302

                                            AND

                                            Michael A. Josephson
                                            Texas Bar No. 24014780
                                            Andrew W. Dunlap
                                            Texas Bar No. 24078444
                                            JOSEPHSON DUNLAP LLP
                                            11 Greenway Plaza, Suite 3050
                                            Houston, Texas 77046
                                            713-352-1100 – Telephone
                                            713-352-3300 – Facsimile
                                            mjosephson@mybackwages.com
                                            adunlap@mybackwages.com

                                            AND

                                            Richard J. (Rex) Burch
                                            Texas Bar No. 24001807
                                            BRUCKNER BURCH PLLC
                                            8 Greenway Plaza, Suite 1500
                                            Houston, Texas 77046
                                            713-877-8788 – Telephone
                                            713-877-8065 – Facsimile
                                            rburch@brucknerburch.com

                                        ATTORNEYS IN CHARGE FOR PLAINTIFF




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